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                                         Office of the Clerk
                        United States Court of Appeals for the Ninth Circuit
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                                San Francisco, California 94119-3939
                                            415-355-8000
Molly C. Dwyer
Clerk of Court



                                     TIME SCHEDULE ORDER


        Docket Number:           24-6737
        Originating Case Number: 3:23-cr-00177-RSH-1
        Case Title:              United States of America v. Essenfeld



        Tuesday, November 19, 2024
        Theodore E. Essenfeld                                 Appeal Transcript Order Due

        Thursday, December 19, 2024
        Theodore E. Essenfeld                                 Appeal Transcript Due

        Tuesday, January 28, 2025
        Theodore E. Essenfeld                                 Appeal Opening Brief Due

        Thursday, February 27, 2025
        United States of America                              Appeal Answering Brief Due


       If there were reported hearings, the parties shall designate and, if necessary, cross-
       designate the transcripts pursuant to 9th Cir. R. 10-3. If there were no reported hearings,
       the transcript deadlines do not apply.
       The optional reply may be filed within 21 days of service of the answering brief. See
       Fed. R. App. P. 31 and 9th Cir. R. 31-2.1.
       Failure of the appellant to comply with the time schedule order may result in
       automatic dismissal of the appeal. See 9th Cir. R. 42-1.
